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Counsel for the Debtors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                                                   Chapter 11

ACORDA THERAPEUTICS, INC., et al.,1                                     Case No. 24-22284 (DSJ)

         Debtors.                                                       Jointly Administered

___________________________________/                                    Re: Docket No. 428

                NOTICE OF (I) OCCURRENCE OF EFFECTIVE DATE AND
           (II) DEADLINES UNDER THE PLAN AND CONFIRMATION ORDER
           TO FILE PROFESSIONAL FEE CLAIMS AND REJECTION CLAIMS

        PLEASE TAKE NOTICE that, on August 7, 2024, the Court entered the Findings of Fact,
Conclusions of Law, and Order (I) Confirming the Modified First Amended Joint Chapter 11 Plan
of Liquidation of Acorda Therapeutics, Inc. and Its Affiliated Debtors and (II) Granting Related
Relief [Docket No. 428] (the “Confirmation Order”) confirming the Modified First Amended
Joint Chapter 11 Plan of Liquidation of Acorda Therapeutics, Inc. and Its Affiliated Debtors
attached as Exhibit A to the Confirmation Order (together with the plan supplement, all schedules,




1
  The Debtors in these chapter 11 cases, along with the last four (4) digits of each Debtor’s federal tax identification
number, are: Acorda Therapeutics, Inc. (1168), Civitas Therapeutics, Inc. (2814), Biotie Therapies, LLC (2149),
Biotie Therapies AG (N/A), Neuronex, Inc. (5094), and Acorda Therapeutics Limited (N/A). For the purposes of
these chapter 11 cases, the address for the Debtors is: 2 Blue Hill Plaza, 3rd Floor, Pearl River, New York 10965.
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and exhibits thereto, and as may be modified, amended, or supplemented from time to time, the
“Plan”).2

       PLEASE TAKE FURTHER NOTICE that, on August 21, 2024, the Effective Date of
the Plan occurred. All conditions precedent to the Effective Date set forth in Article IX of the Plan
have been satisfied or waived in accordance with the Plan and the Confirmation Order.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Confirmation
Order, the Debtors hereby provide notice of the occurrence of the Effective Date.

       PLEASE TAKE FURTHER NOTICE that pursuant to section 8.1 of the Plan, as of the
occurrence of the Effective Date, all executory contracts and unexpired leases to which any of the
Debtors are parties shall be deemed rejected, unless such contract or lease (a) was previously
assumed or rejected by the Debtors pursuant to an order of the Bankruptcy Court; (b) previously
expired or terminated pursuant to its own terms or by agreement of the parties thereto; (c) is the
subject of a motion to assume filed by the Debtors on or before the Confirmation Date; (d) is a
contract, release, or other agreement or document entered into in connection with the Plan; (e) is
a D&O Liability Insurance Policy or an insurance policy; or (f) is identified for assumption on the
Assumption Schedule included in the Plan Supplement.

        PLEASE TAKE FURTHER NOTICE that pursuant to section 8.2 of the Plan and
paragraph 19 of the Confirmation Order, in the event that the rejection of an executory contract or
unexpired lease results in damages to the other party or parties to such contract or lease, any Claim
for such damages shall be classified and treated in Class 4 (General Unsecured Claims). Such
claim shall be forever barred and shall not be enforceable against the Debtors, Wind Down
Estates, the Liquidation Trust, or their respective Estates, properties or interests in property
as agents, successors, or assigns, unless a proof of Claim is filed with the Bankruptcy Court
and served upon counsel for the Debtors or Liquidation Trust, as applicable, by the later of
(a) September 23, 2024, the date that is the first business day after thirty (30) days after the
filing and service of the notice of the occurrence of the Effective Date; and (b) thirty (30)
days after entry of an Order rejecting such contract or lease if such contract or lease is the
subject of a pending Assumption Dispute.

        PLEASE TAKE FURTHER NOTICE that pursuant to section 2.2 of the Plan and
paragraph 22 of the Confirmation Order, all entities seeking an award by the Bankruptcy Court of
Fee Claims (a) shall file their respective final applications for allowance of compensation for
services rendered and reimbursement of expenses incurred by October 5, 2024, the date that is
forty-five (45) days after the Effective Date, and (b) shall be paid in full from the Professional Fees
Escrow Account in such amounts as are Allowed by the Bankruptcy Court, subject, in respect of
the Fee Claims of the Creditors’ Committee, to the Committee Professional Fee Cap, (a) in
accordance with the Interim Compensation Order, (b) upon the later of the Effective Date and the
date upon which the order relating to any such Allowed Fee Claim is entered or (c) upon such
other less favorable terms as may be mutually agreed upon between the holder of such an Allowed
Fee Claim and the Debtors or the Liquidation Trustee, as applicable. Notwithstanding anything to
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  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Plan or Confirmation
Order, as applicable.



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the contrary in the Interim Compensation Order, Professionals shall only be required to file a final
fee application and do not need to file an interim fee application. Objections to such Fee Claims,
if any, must be filed and served no later than twenty (20) calendar days after the filing of such fee
application or such other date as established by the Bankruptcy Court.

       PLEASE TAKE FURTHER NOTICE that copies of the Plan, the Confirmation Order,
and related filings can be viewed and/or obtained by: (i) accessing the Court’s website at
www.nysb.uscourts.gov, or (ii) from the Debtors’ notice and claims agent, Kroll Restructuring
Administration LLC, at https://cases.ra.kroll.com/acorda or by calling (844) 712-1917 (toll free)
for U.S. and Canada based parties or +1 (646) 777-2412 for international parties. Note that a
PACER password is needed to access documents on the Court’s website.



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Dated: August 23, 2024            /s/ John R. Dodd
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                                  and

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                                  Counsel for the Debtors




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